     Case 2:22-cv-01840-KJM-KJN     Document 8     Filed 02/22/23   Page 1 of 2


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17   KILA SMITH
18                         UNITED STATES DISTRICT COURT
19                       EASTERN DISTRICT OF CALIFORNIA
20   KILA SMITH,                                  Case No. 2:22-cv-01840 KJM KJN
21                Plaintiff,                      STIPULATION FOR DISMISSAL
                                                  WITH PREJUDICE PURSUANT TO
22         v.                                     F.R.C.P. 41(a)(1)

23   CLAIRE’S BOUTIQUES, INC. a
     Michigan Corporation; CLAIRE’S
24   HOLDINGS, LLC, a Limited Liability
     Company; RYAN VERO, an individual;
25   and DOES 1 through 100, inclusive,
26                Defendants.
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     STIPULATION FOR DISMISSAL W/PREJUDICE                   Case No. 2:22-CV-01840- KJM-KJN
     Case 2:22-cv-01840-KJM-KJN       Document 8     Filed 02/22/23      Page 2 of 2


 1            The parties to this action, acting through counsel, and pursuant to Federal
 2   Rule of Civil Procedure 41(a)(1)(A)(ii) hereby stipulate, in consideration of a
 3   negotiated settlement executed by them, to the Dismissal With Prejudice of this
 4   action, including all claims stated herein against all Defendants, with each party to
 5   bear its own attorney’s fees and costs.
 6

 7   Dated: February 15, 2023                        JACKSON LEWIS P.C.

 8

 9                                             By:   /s/Adam Y. Siegel
                                                     Adam Y. Siegel
10                                                   Mossamat N. Karim
                                                     Attorneys for Defendants
11                                                   CLAIRE’S BOUTIQUES, INC.
                                                     AND CLAIRE’S HOLDINGS, LLC
12

13   Dated: February 15, 2023                        STARPOINT, LC

14

15                                             By:   /s/Aidin D. Ghavimi
                                                     Aidin D. Ghavimi
16                                                   John Vafa
                                                     Ilana N. Fine
17                                                   Attorneys for Plaintiff
                                                     KILA SMITH
18

19                              ATTESTATION OF SIGNATURE
20
              Pursuant to Eastern District of California Local Rule                , I attest that
21
     concurrence in the filing of this document has been obtained from each of the
22
     signatories to this document.
23
                                                     /s/Adam Y. Siegel
24
     4880-0996-0521, v. 1
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     STIPULATION FOR DISMISSAL W/PREJUDICE                        Case No. 2:22-CV-01840- KJM-KJN
